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5    Attorneys for Defendant
     DERIAN EIDSON
6

7

8                            UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                  Case No. 2:11-CR-0234-FCD
12
                        Plaintiff,
13                                              DEFENDANT DERIAN EIDSON’S
                 v.                             WAIVER OF APPEARANCE; ORDER
14
     DERIAN EIDSON,
15

16                      Defendant.
17

18
           The defendant, Derian Eidson, hereby waives her right to be present in open
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     court upon the hearing of any motion or other proceeding in this cause, including, but
20
     not limited to, when the case is ordered set for trial, when a continuance is ordered,
21
     and when any other action is taken by the court before or after trial, except upon
22
     arraignment, plea, impanelment of jury and imposition of sentence. Defendant
23
     hereby requests the court to proceed during every absence of her which the court
24
     may permit pursuant to this waiver, agrees that her interests will be deemed
25
     represented at all times by the presence of her attorney, the same as if the
26
     defendant were personally present; and further agrees to be present in court ready
27
     for trial any day and hour the court may fix in her absence.
28
                                                 1
                      DEFENDANT DERIAN EIDSON’S WAIVER OF APPEARANCE
       Case 2:11-cr-00234-TLN Document 31 Filed 06/16/11 Page 2 of 2

1          Defendant further acknowledges that she has been informed of her rights
2    under Title 18 U.S.C. Sections 3161-3174 (Speedy Trial Act), and has authorized
3    her attorney to set times and delays under the provisions of the Act without
4    defendant being present.
5    Dated: June 13, 2011
6

7                                          _/s/ Derian Eidson_____________________
8                                          DERIAN EIDSON
9

10

11   Dated: June 16, 2011                  SEGAL & KIRBY LLP
12

13                                  By:      /s/ Malcolm S. Segal
                                           MALCOLM S. SEGAL
14                                         Attorneys for Defendant
                                           DERIAN EIDSON
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17   APPROVED:
18
     Dated: June 16, 2011
19

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21                                         FRANK C. DAMRELL, JR.
                                           UNITED STATES DISTRICT JUDGE
22

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                                                2
                     DEFENDANT DERIAN EIDSON’S WAIVER OF APPEARANCE
